Case 1:04-cv-01039-.]DT-STA Document 44 Filed 07/11/05 Page 1 of 3 Page|D 48

cf
f` /);1;3:
IN THE UNITED sTATEs DISTRICT CoUR§; '~//:/_ v
FoR THE WESTERN DIsTRICT oF TENNESS‘EE; / ~ pin
EASTERN DlvlsloN / at §
>’._.,': .J.l' vi " /j-.:

ABLE CARTAGE, INC.,

 

Plaintiff,
VS. NO. l~O4-lO39-T-An

STRATEGIC OUTSOURCING, INC.,

\_/\_/\_/\¢_/\_/\_/\_-/\_/\_/

Defendant.

 

ORDER REQUIRING DEFENDANT TO FILE A SUPPLEMENTAL BRIEF

 

Plaintift`Able Cartage, lnc. (“Able”) brought this action against Det`endant Strategic
Outsourcing, Inc. (“SOI”) in the Chancery Court of Gibson County, Tennessee, alleging
breach of contract for failing to pay a Workers’ compensation claim. Plaintiff` seeks a
declaratory judgment on the issues of breach of contract and the Whether the claim is
covered under Tennessee’s Workers’ compensation laWs. The action Was removed to this
court pursuant to 28 U.S.C. § 1441.1 Both parties have filed motions for summaryjudgment.
Plaintiff’s motion for summary judgment argues, in part, that Ronnie Fultz, the individual
injured and the subject of the Workers’ compensation claim, Was an employee of SOI. As

a result, Able contends that SOI is responsible for providing Workers’ compensation to

 

l The parties are also involved in a suit pending in the United States District Court for the
Western Division of North Carolina, Char]otte Division. Defendant sought a declaratory
judgment declaring that it was not obligated to pay for any workers’ compensation benefits

Th|s document entered on the docket sheet In compliance j
with ama ss and,'or_?e (a) FncP on Ql - l l - QS ‘ !+Ll

f

Case 1:04-cv-01039-.]DT-STA Document 44 Filed 07/11/05 Page 2 of 3 Page|D 49

Fultz. l-lowever, in its response to Able’s motion for summary judgment, SOI noted that
“the case at bar is a contract case, not a workers’ compensation case. Issues related to
workers’ compensation are the subject of litigation in another forum. As a result, Fultz’s
employment status is not at issue before this Court.” SOI’s Response to Able Cartage’s
Motion for Summary Judgment, at 2 n. l. The court disagrees Clearly Plaintiff has put the
issue of workers’ compensation before the court because it seeks a declaratory judgment as
to SOI’s responsibility to pay for Fultz’s injuries under Tennessee’s workers’ compensation
laws and it has argued that it is entitled to summary judgment on that issue. Consequently,
Defendant has twenty (20) days to tile a supplemental brief on the issue of workers’
compensation coverage Plaintiff is allowed twenty (20) days to respond

IT IS SO ORDERED.

B.M

J D. TODD
TED STATES DISTRICT JUDGE

Y%LAQM

DA`i'E U / '

UNITED

         

S DISTRICT OU T - wEsTNER D"ISRICT oF TNNESSEE

mm

TAT

wis

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 1:04-CV-01039 was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

 

Thomas 1. Carlton
CORNELIUS & COLLINS
511 Union Street

Ste. 1500

Nashville, TN 37219--069

William 13. Mauldin

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son, TN 38305

Blakely D. Matthews
CORNELIUS & COLLINS, LLP
511 Union St.7 Ste. 1500

P.O. Box 190695

Nashville, TN 37219--069

Ben 1\/1. Rose
CORNELIUS & COLLINS
511 Union Street

Ste. 1500

Nashville, TN 37219--069

Donald D. Glenn

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son, TN 38305

Honorable .l ames Todd
US DISTRICT COURT

